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                                                 United States Courts
                                               Southern District of Texas
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                                                     July 15, 2020
                                             David J. Bradley, Clerk of Court
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